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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________              New York
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         /1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          SingleHop, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              3 ___
                                           ___ 2 – ___
                                                    0 ___
                                                       3 ___
                                                          7 ___
                                                              4 ___
                                                                 3 ___
                                                                    4 ___
                                                                       0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            141 West Jackson Blvd.
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 1510A
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Chicago                     IL 60604
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Cook County
                                           ______________________________________________
                                           County
                                                                                                         9333 W Grand Ave.
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                         Franklin Park             IL        60131
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                inap.com
                                           ____________________________________________________________________________________________________


                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor           SingleHop, LLC
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ✔ None of the above
                                           

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.naics.com/search/ .
                                                 5 ___
                                                ___ 4 ___
                                                       1 ___
                                                          5

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           ✔ Chapter 11. Check all that apply:
                                           
                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,,5 (amount subject to adjustment on
                                                                4/01/1 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            ✔
                                                               A plan is being filed with this petition.
                                                            ✔
                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases          ✔ No
                                           
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an               ✔ Yes.
                                                            See attached list
                                                      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


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Debtor        SingleHop, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                       

12.   Does the debtor own or have      ✔ No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  ✔ Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of              ✔ 50-99
                                                                        5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               ✔ $10,000,001-$50 million
                                                                                                                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor         SingleHop, LLC
               _______________________________________________________                        Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                         $100,001-$500,000                 $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                         $500,001-$1 million              ✔ $100,000,001-$500 million
                                                                                                                      More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                          03/16/2020
                                           Executed on _________________
                                                       MM / DD / YYYY


                                        8 /s/ Michael T. Sicoli
                                            _____________________________________________             Michael T. Sicoli
                                                                                                      _______________________________________________
                                           Signature of authorized representative of debtor           Printed name

                                                  President and CFO
                                           Title _________________________________________




18.   Signature of attorney
                                        8 /s/ Dennis F. Dunne
                                            _____________________________________________             Date            03/16/2020
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Dennis F. Dunne
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Milbank LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            55 Hudson Yards
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           New York
                                           ____________________________________________________                 NY
                                                                                                          ____________  10001
                                                                                                                       ______________________________
                                           City                                                           State        ZIP Code

                                            (212) 530-5000
                                           ____________________________________                            ddunne@milbank.com
                                                                                                          __________________________________________
                                           Contact phone                                                  Email address



                                            2414373
                                           ______________________________________________________       NY
                                                                                                  ____________
                                           Bar number                                             State




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                                               Schedule 1


                   Pending Bankruptcy Cases Filed by the Debtors in this Court

         On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq., in the United States Bankruptcy Court for the Southern District of New York.
Contemporaneously herewith, the Debtors are filing a motion requesting the joint administration
of these chapter 11 cases for procedural purposes only under the case number assigned to Number
Holdings, Inc.

              1.   DataGram, LLC

              2.   Hosting Intellect, LLC

              3.   Internap Connectivity LLC

              4.   Internap Corporation

              5.   Internap Technology Solutions Inc.

              6.   SingleHop, LLC

              7.   Ubersmith, Inc.




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                                        RESOLUTIONS
                                   OF THE SOLE MEMBER OF

                                         SINGLEHOP, LLC

                                            March 15, 2020

        The sole member (collectively, the “Sole Member”) of SingleHop, LLC a limited liability
company organized and existing under the laws of the State of Delaware (the “Company”), hereby
adopt the following resolutions (these “Resolutions”).

        WHEREAS, the Sole Member of the Company has considered the liquidity, financial and
operational condition, including capital resources, and sources and uses of cash, of the Company
and its subsidiaries and affiliates and its current lending arrangements in respect to meeting the
Company’s short-term liquidity needs;

        WHEREAS, the Sole Member has reviewed the historical performance and results of the
Company, the market in which the Company operates, its current, short-term and long-term future
liquidity needs, its business prospects, and its current and long-term liabilities;

       WHEREAS, the Sole Member has considered and evaluated other lending arrangements
and sources of liquidity in meeting the Company’s short-term liquidity needs;

         WHEREAS, the Sole Member has reviewed the materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company’s financial condition, including its capital resources and uses of cash,
liabilities and liquidity position, the strategic alternatives available to it, the impact of the foregoing
on the Company’s business and operations, and the advisability of entering into restructuring
arrangements;

        WHEREAS, the Company and certain of its affiliates (together, the “Restructuring
Parties”) and certain of the Company’s lenders under the Credit Agreement have entered into the
Restructuring Support Agreement (the “RSA”), which agreement contemplates a comprehensive
restructuring of the Restructuring Parties’ capital structure on the terms set forth therein;

       WHEREAS, pursuant to the direction of the Sole Member, the Company’s management
and advisors engaged in good-faith negotiations with the Consenting Creditors (as defined in the
RSA) over the terms of the Joint Prepackaged Chapter 11 Plan of Reorganization of Internap
Corporation and Its Affiliated Debtors in Possession (as may be amended, modified, or
supplemented, the “Plan”);

        WHEREAS, the Sole Member, based on its business judgment and acting in the best
interests of the Company, its creditors, and other parties in interest, approved the Plan and
disclosure statement related thereto for solicitation of votes from the holders of the Consenting
Lenders (as defined in the RSA) entitled to vote on the Plan and for filing with the United States



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Bankruptcy Court for the Southern District of New York, if and when appropriate, and solicitation
of the Plan is expected to commence on March 15, 2020;

        WHEREAS the Company has considered the importance of retaining outside advisors
during the restructuring process; and

        WHEREAS, the Sole Member has determined that taking the actions set forth below are
advisable and in the best interests of the Company and, therefore desire to approve the following
resolutions:

                                  Approval of Chapter 11 Case

        BE IT RESOLVED that the Sole Member has determined that it is desirable and in the
best interests of the Company and its respective creditors, equity holders, employees, and other
parties-in-interest that the Company file or cause to be filed a voluntary petition (a “Voluntary
Petition”) for relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) commencing the Chapter 11 Case (as defined below);

        BE IT FURTHER RESOLVED that the Sole Member has determined that it is desirable
and in the best interests of the Company and its respective creditors, equity holders, employees,
and other parties-in-interest that the Company file or cause the Plan to be filed, along with the
Voluntary Petition;

        BE IT FURTHER RESOLVED that each manager, member, officer, or director of the
Company (each, an “Authorized Person”), in each case, acting singly or jointly, be, and each of
them hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with
the bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and any other necessary papers or documents, including any amendments thereto, and
to take any and all action and perform any and all further deeds that they deem necessary or proper
to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the Company
(the “Chapter 11 Case”), with a view to the successful prosecution of such Chapter 11 Case;

                           Approval of Debtor in Possession Financing

        BE IT FURTHER RESOLVED that, the Authorized Persons, and any employees or
agents (including counsel) designated by or directed by any such persons, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to, if
the Authorized Persons determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
that certain Debtor-In-Possession Credit Agreement, dated on or about the date hereof, by and
among the Company, as borrower, the guarantors party thereto, Jefferies Finance LLC, as
administrative agent and collateral agent (the “Agent”) and the lenders party thereto (the
“Lenders”), in each case, in substantially the form as presented to the Directors (the “DIP Credit
Facilities”), and any related documents or instruments, each on terms and conditions agreed to by
the Company, the Lenders and the Agent and such other terms as are customary for similar debtor-
in-possession facilities and to cause the Company to grant a senior security interest in substantially
all of its assets in connection therewith, and to undertake any and all related transactions
contemplated thereby;

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         BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to, if the
Authorized Persons determine it to be necessary or appropriate, cause to be prepared, to negotiate,
execute, and deliver, and the Company is hereby authorized to perform its obligations and take the
actions contemplated under, the DIP Credit Facilities and such other documents, agreements,
guaranties, instruments, financing statements, notices, undertakings, other loan documents
promissory notes, term sheets, fee letters, control agreements, landlord agreements, pledge
agreements, assignments, stock powers, intellectual property filings and recordations, letters of
credit, certificates, powers of attorneys, consents, waivers, other security documents and any other
necessary or appropriate agreement, instrument, document or certificates related to the DIP Credit
Facilities (the “DIP Documents”) each containing such provisions, terms, conditions, covenants,
warranties, and representations as may be deemed necessary or appropriate by the Authorized
Persons, and any amendments, restatements, amendments and restatements, supplements, or other
modifications thereto, in each case with such changes therein and additions thereto as shall be
deemed necessary, appropriate, or advisable by any Authorized Person executing the same in the
name and on behalf of the Company, such approval to be evidenced conclusively by such
execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to (i) negotiate and obtain
the use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees of, and security interests in, mortgage, pledge and grant liens on and claims against
the Company’s assets as security or otherwise in connection with the DIP Documents as may be
contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the affairs
of the Company in the Chapter 11 Case and any of the Company’s affiliates who may also,
concurrently with the Company’s petition, file for relief under the Bankruptcy Code and (ii) in the
Company’s capacity, as shareholder, member, manager or owner of any other borrower or
guarantor, execute and deliver such votes, consents, waivers or other approvals of certifications as
are necessary or desirable to cause or permit any such borrower or guarantor to enter into and
consummate the foregoing and the other matters contemplated by these Resolutions; and that any
Authorized Person of the Company be, and each of them hereby is, authorized and empowered in
the name and on behalf of the Company to enter into and perform its obligations under and as set
forth in the DIP Documents; and that any Authorized Person of the Company be, and each of them
hereby is, authorized and empowered in the name and on behalf of the Company, to execute
(manually or by electronic signature) and deliver such DIP Documents, with such changes,
additions and deletions as any Authorized Person may approve and on such terms as any
Authorized Person deems necessary or desirable;

        BE IT FURTHER RESOLVED that each Authorized Persons be, and hereby is,
authorized, directed and empowered, either jointly or severally, for and on behalf of and in the
name of the Company to cause the Company and its subsidiaries to pledge, mortgage or otherwise
grant security interests in, and liens upon the any or all of the assets and properties, real and
personal, now owned or hereafter acquired by the Company and its subsidiaries, including, without
limitation, any capital stock, membership interests or other ownership interests owned by the
Company or any subsidiary in any corporations, limited liability companies or other entities, as
may now or from time to time be required in connection with an increase to the Company’s existing

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term loan facility in an aggregate principal amount up to $5,000,000 (the “Bridge Loan Facility”)
now existing or hereafter arising or acquired (collectively, the “Collateral”), as applicable, and all
proceeds of the Collateral to secure payment and performance by the Company of its obligations
under the DIP Documents and such other obligations that are required to be secured under the DIP
Documents and take such further action to maintain and perfect such liens and otherwise necessary
to effect the purposes of the DIP Documents;

        BE IT FURTHER RESOLVED, that each Authorized Officer be, and hereby is,
authorized, directed and empowered, either jointly or severally, for and on behalf of and in the
name of the Company, to cause the Company’s subsidiaries to enter into subsidiary guarantees of
the payment by the Company of all amounts due with respect to the DIP Documents and the
performance by the Company of its obligations under the DIP Documents and such other
obligations that such subsidiaries are required to guaranty;

         BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facilities to the Company and its affiliates;

                             Approval of the Retention of Advisors

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the law firm of Milbank LLP as general
bankruptcy counsel to represent and advise the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations, including
filing any pleadings in connection with the Chapter 11 Case and with any post-petition financing;
and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the Chapter 11 Case, and cause to be executed and filed an appropriate
application with the bankruptcy court for authority to retain the services of Milbank LLP;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the firm of FTI Consulting, Inc. as financial
advisor to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection with the Chapter
11 Case and with any post-petition financing; and in connection therewith, the Authorized Persons
are hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause
to be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of FTI Consulting, Inc.;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the firm of Moelis & Company as investment
banker to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection with the Chapter
11 Case and with any post-petition financing; and in connection therewith, the Authorized Persons
are hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause

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to be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Moelis & Company;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as notice, claims,
and balloting agent to assist the Company in carrying out its duties under the Bankruptcy Code;
and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and cause to be executed and filed an
appropriate application with the bankruptcy court for authority to retain the services of Prime Clerk
LLC;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the law firm of Jenner & Block LLP as special
corporate counsel; and in connection therewith, the Authorized Persons are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon filing of the Chapter 11 Case, and cause to be executed and filed an
appropriate application with the bankruptcy court for authority to retain the services of Jenner &
Block LLP;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the firm of Deloitte LLP as tax consultants; and
in connection therewith, the Authorized Persons are hereby authorized, empowered, and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application
with the bankruptcy court for authority to retain the services of Deloitte LLP;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ the law firm of Potomac Law Group, PLLC as
special regulatory counsel; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Potomac Law Group, PLLC

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ any other professionals, including attorneys,
accountants, and tax advisors, necessary to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Persons are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to or immediately upon the filing of the Chapter 11 Case, and cause to be executed and filed
appropriate applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary;




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                             Other Authorization and Ratification

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to prosecute
the Chapter 11 Case in a manner that in their business judgment is likely to maximize the recovery
for stakeholders in the Company and minimize the obligations incurred by the Company;

        BE IT FURTHER RESOLVED that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file, and/or record and perform such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, and to take such other action, as in the judgment of
such person shall be or become necessary, proper, and desirable to prosecute to a successful
completion the Chapter 11 Case, including, but not limited to, implementing the foregoing
Resolutions and the transactions contemplated by these Resolutions;

       BE IT FURTHER RESOLVED that Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions;

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified; and

        BE IT FURTHER RESOLVED that, to the extent the Company serves as the sole
member, managing member, general partner or other governing body (the “Controlling
Company”) of any other company (a “Controlled Company”), each Authorized Person of the
Controlling Company, any one of whom may act without the joinder of any other Authorized
Person, be, and each of them hereby is, severally authorized, empowered and directed in the name
and on behalf of the Controlling Company (acting for such Controlled Company in the capacity
set forth above, as applicable), to take all of the actions on behalf of such Controlled Company
that an Authorized Person is herein authorized to take on behalf of the Controlling Company.




                                                 6
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              Fill in this information to identify the case:

              Debtor Name: Internap Technology Solutions Inc. et al.

              United States Bankruptcy Court for the: Southern District of New York                                                     Check if this is an amended filing

              Case number (if known): __________________________
Fill in this information to identify the case:


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders 1                                                            12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 30 largest unsecured claims.

      Name of creditor and                    Name, telephone number                   Nature of              Indicate if        Amount of claim
      complete mailing address,               and email address of                     claim                   claim is          If the claim is fully unsecured, fill in only
                                                                                       (for example,                             unsecured claim amount. If claim is
      including zip code                      creditor contact                                               contingent,
                                                                                       trade debts,                              partially secured, fill in total claim amount
                                                                                                            unliquidated,
                                                                                       bank loans,                               and deduction for value of collateral or
                                                                                                             or disputed
                                                                                       professional                              setoff to calculate unsecured claim.
                                                                                       services, and
                                                                                                                                 Total               Deduction            Unsecured
                                                                                       government
                                                                                                                                 claim, if           for value of         claim
                                                                                       contracts)
                                                                                                                                 partially           collateral or
                                                                                                                                 secured             setoff


                                             Burr Computer Environments, Inc
     Burr Computer Environments, Inc
                                             Chip Beaver
     Chip Beaver
1                                            PHONE: 281-374-8644                           Trade debt                                $3,090,336.76                         $3,090,336.76
     10400 Rodgers Road
                                             FAX: 281-374-8992
     Houston, TX 77070
                                             EMAIL: chip.beaver@bcei.com




     Trace3 Inc                              Trace3 Inc
     Cori Garcia                             Cori Garcia
2    7565 Irvine Center Drive                PHONE: 720-668-6484                           Trade debt                                  $969,744.01                          $969,744.01
     Suite #200                              FAX: 949-333-2400
     Los Angeles, CA 90084-7467              EMAIL: cgarcia@trace3.com




     Zayo Group                              Zayo Group
     Stephen Tarr                            Stephen Tarr
3                                                                                          Trade debt                                  $849,546.11                          $849,546.11
     6606 LBJ Freeway                        PHONE: 817-239-3455
     Dallas, TX 75240                        EMAIL: Stephen.Tarr@zayo.com




1
   On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims
listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount or characterization of any claim at a later date.




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Debtor Internap Technology Solutions Inc. et al.                                             Case number (if known) ____________
                Name

    Name of creditor and              Name, telephone number                Nature of         Indicate if   Amount of claim
    complete mailing address,         and email address of                  claim              claim is     If the claim is fully unsecured, fill in only
                                                                            (for example,                   unsecured claim amount. If claim is
    including zip code                creditor contact                                       contingent,
                                                                            trade debts,                    partially secured, fill in total claim amount
                                                                                            unliquidated,
                                                                            bank loans,                     and deduction for value of collateral or
                                                                                             or disputed
                                                                            professional                    setoff to calculate unsecured claim.
                                                                            services, and
                                                                                                            Total              Deduction       Unsecured
                                                                            government
                                                                                                            claim, if          for value of    claim
                                                                            contracts)
                                                                                                            partially          collateral or
                                                                                                            secured            setoff

    Equinix Inc
                                      Equinix Inc
    Andrew Hirschfeld
                                      Andrew Hirschfeld
4   302 Knights Run Avenue                                                    Trade debt                         $769,572.52                    $769,572.52
                                      PHONE: 813-207-7119
    Suite 700
                                      EMAIL: ahirschfeld@equinix.com
    Tampa, FL 33602




    GI TC Seattle LLC                 GI TC Seattle LLC
    Tony Lin                          Tony Lin
5   188 The Embarcadero               PHONE: 415-688-4818                     Trade debt                         $476,849.57                    $476,849.57
    Suite 700                         FAX: 415-688-4801
    San Francisco, CA 94105           EMAIL: tony@gipartners.com




                                      Akamai Technologies Inc
    Akamai Technologies Inc
                                      Jason Boland
    Jason Boland
6                                     PHONE: 312-800-4107                     Trade debt                         $428,514.56                    $428,514.56
    8 Cambridge Center
                                      FAX: 617-444-3001
    Cambridge, MA 02142
                                      EMAIL: jboland@akamai.com




    Dell Marketing LP                 Dell Marketing LP
    Michael Weldon                    Michael Weldon
7                                                                             Trade debt                         $324,784.11                    $324,784.11
    One Dell Way                      PHONE: 770-906-1696
    Round Rock, TX 78682              EMAIL: Michael.Weldon@Dell.com




                                      XO Communications Inc
    XO Communications Inc
                                      Jen Godboldt
    Jen Godboldt
8                                     PHONE: 615-481-5105                     Trade debt                         $290,685.54                    $290,685.54
     455 Duke Dr
                                      EMAIL: jennifer.godboldt@verizon.co
    Franklin, TN 37067
                                      m




    Digital Realty Trust              Digital Realty Trust
    Daniel Lane                       Daniel Lane
9                                                                             Trade debt                         $271,425.68                    $271,425.68
    2121 South Price Road             PHONE: 415-848-9308
    Chandler, AZ 85286                EMAIL: dlane@digitalrealty.com




   CPUS West Frye Road, LP
                                      CPUS West Frye Road, LP
   Andi St. John
                                      Andi St. John
10 2575 East Camelback Road                                                   Trade debt                         $244,306.99                    $244,306.99
                                      PHONE: 602-735-5622
   Suite 500
                                      EMAIL: Andist.john@cbre.com
   Phoenix, AZ 85016




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
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Debtor Internap Technology Solutions Inc. et al.                                             Case number (if known) ____________
                 Name

     Name of creditor and                Name, telephone number            Nature of         Indicate if   Amount of claim
     complete mailing address,           and email address of              claim              claim is     If the claim is fully unsecured, fill in only
                                                                           (for example,                   unsecured claim amount. If claim is
     including zip code                  creditor contact                                   contingent,
                                                                           trade debts,                    partially secured, fill in total claim amount
                                                                                           unliquidated,
                                                                           bank loans,                     and deduction for value of collateral or
                                                                                            or disputed
                                                                           professional                    setoff to calculate unsecured claim.
                                                                           services, and
                                                                                                           Total              Deduction       Unsecured
                                                                           government
                                                                                                           claim, if          for value of    claim
                                                                           contracts)
                                                                                                           partially          collateral or
                                                                                                           secured            setoff


     Lightower Fiber Networks            Lightower Fiber Networks
     Kim Donohue                         Kim Donohue
11                                                                           Trade debt                         $242,807.49                    $242,807.49
      80 Central Street                  PHONE: 617-285-8482
      Boxborough, MA 01719               EMAIL: kdonohue@lightower.com




   Salesforce.com
                                         Salesforce.com
   Mallory Atkinson
                                         Mallory Atkinson
12 950 East Paces Ferry Rd, NE                                               Trade debt                         $230,591.70                    $230,591.70
                                         PHONE: 404-951-6710
   #2800
                                         EMAIL: matkinson@salesforce.com
   Atlanta, GA 30326




   Verizon                               Verizon
   Kyle Dennis                           Kyle Dennis
13                                                                           Trade debt                         $220,651.28                    $220,651.28
   1 Verizon Way                         PHONE: 201-602-7915
   Basking Ridge, NJ 07920               EMAIL: kyle.dennis@verizon.com




   Redwood DC Assets LLC                 Redwood DC Assets LLC
   Kim Donohue                           Kim Donohue
14                                                                           Trade debt                         $217,364.18                    $217,364.18
   251 Little Falls Drive                PHONE: 617-285-8482
   Wilmington, DE 19808                  EMAIL: kdonohue@lightower.com




                                         CenturyLink
   CenturyLink                           Michael Speers
    Michael Speers                       PHONE: 720-387-3562
15                                                                           Trade debt                         $204,817.66                    $204,817.66
    700 W Mineral Ave                    FAX: 303-566-1005
   Littleton, CO 80120                   EMAIL:
                                         michael.speers@centurylink.com



   Fusion WorldWide                      Fusion WorldWide
   George Denoncourt                     George Denoncourt
16 One Marina Park Drive                 PHONE: 617-502-4125                 Trade debt                         $194,664.00                    $194,664.00
   Suite 305                             FAX: 617 502-4137
   Boston, MA 02210                      EMAIL: gdenoncourt@fusionww.com




   Radware                               Radware
   Helen Simpson                         Helen Simpson
17 575 Corporate Drive                   PHONE: 201-512-9771                 Trade debt                         $190,994.00                    $190,994.00
   Lobby 2                               FAX: 201-512-9774
   Mahwah, NJ 07430                      EMAIL: HelenS@Radware.com




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
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Debtor Internap Technology Solutions Inc. et al.                                                     Case number (if known) ____________
                Name

    Name of creditor and               Name, telephone number                   Nature of             Indicate if   Amount of claim
    complete mailing address,          and email address of                     claim                  claim is     If the claim is fully unsecured, fill in only
                                                                                (for example,                       unsecured claim amount. If claim is
    including zip code                 creditor contact                                              contingent,
                                                                                trade debts,                        partially secured, fill in total claim amount
                                                                                                    unliquidated,
                                                                                bank loans,                         and deduction for value of collateral or
                                                                                                     or disputed
                                                                                professional                        setoff to calculate unsecured claim.
                                                                                services, and
                                                                                                                    Total              Deduction       Unsecured
                                                                                government
                                                                                                                    claim, if          for value of    claim
                                                                                contracts)
                                                                                                                    partially          collateral or
                                                                                                                    secured            setoff

   Connecticut General Life
                                       Connecticut General Life Insurance Co.
   Insurance Co.
                                       Deanna McNabb
18 Deanna McNabb                                                                Benefits Provider                        $188,274.36                    $188,274.36
                                       PHONE: 423-954-5293
   900 Cottage Grove Road
                                       EMAIL: deanna.mcnabb@cigna.com
   Hartford, CT 06152




                                       SHI International Corp
   SHI International Corp
                                       Sheena Ohrman
   Sheena Ohrman
19                                     PHONE: 813-434-0285                         Trade debt                            $184,988.46                    $184,988.46
   290 Davidson Avenue
                                       FAX: 732-764-8889
   Somerset, NJ 08873
                                       EMAIL: Sheena_Ohrman@shi.com



                                       Global Telecom & Technology Inc &
   Global Telecom & Technology Inc &
                                       Subsidiaries (GTT Inc)
   Subsidiaries (GTT Inc)
                                       Terry Burka
20 Terry Burka                                                                     Trade debt                            $170,652.91                    $170,652.91
                                       PHONE: 646-722-3021
   251 Little Falls Drive
                                       EMAIL:
   Wilmington, DE 19808
                                       Terry.burka@mapletree.com.sg


                                       Direct Energy Marketing Inc dba Direct
   Direct Energy Marketing Inc dba
                                       Energy Business
   Direct Energy Business
                                       Michael Ripper
21 Michael Ripper                                                                  Trade debt                            $168,403.40                    $168,403.40
                                       PHONE: 800-830-5923
   1001 Liberty Avenue
                                       EMAIL:
   Pittsburgh, PA 15222
                                       michael.ripper@directenergy.com




   Data Hardware Depot                 Data Hardware Depot
   John McGonagle                      John McGonagle
22                                                                                 Trade debt                            $142,850.63                    $142,850.63
   506 Chapala St.                     PHONE: 860-944-3985
   Santa Barbara, CA 93101             EMAIL: john@dhd.com




                                       Yancey Bros. Co.
   Yancey Bros. Co.
                                       Beth Tower
   Beth Tower
23                                     PHONE: 877-926-2398                         Trade debt                            $138,801.60                    $138,801.60
   259 Lee Industrial Blvd
                                       FAX: 770-941-2411
   Austell, GA 30168
                                       EMAIL: beth_tower@yanceybros.com




   American Express Co                 American Express Co
   Melissa Lewis                       Melissa Lewis
24                                                                                 Trade debt                            $128,307.95                    $128,307.95
   18850 N 56th St                     PHONE: 623-492-4853
   Phoenix, AZ 85054                   EMAIL: Melissa.R.Lewis@aexp.com




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
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Debtor Internap Technology Solutions Inc. et al.                                                       Case number (if known) ____________
                  Name

     Name of creditor and                  Name, telephone number                Nature of              Indicate if   Amount of claim
     complete mailing address,             and email address of                  claim                   claim is     If the claim is fully unsecured, fill in only
                                                                                 (for example,                        unsecured claim amount. If claim is
     including zip code                    creditor contact                                            contingent,
                                                                                 trade debts,                         partially secured, fill in total claim amount
                                                                                                      unliquidated,
                                                                                 bank loans,                          and deduction for value of collateral or
                                                                                                       or disputed
                                                                                 professional                         setoff to calculate unsecured claim.
                                                                                 services, and
                                                                                                                      Total              Deduction       Unsecured
                                                                                 government
                                                                                                                      claim, if          for value of    claim
                                                                                 contracts)
                                                                                                                      partially          collateral or
                                                                                                                      secured            setoff

   Allied Universal Security Services      Allied Universal Security Services
   Sharon Underwood                        Sharon Underwood
25 1438 West Peachtree St.                 PHONE: 603-998-4746                      Trade debt                             $127,095.65                    $127,095.65
   Suite 100                               FAX: 404-541-9899
   Atlanta, GA 30309                       EMAIL: sharon.underwood@abm.com




   Servicenow, Inc                         Servicenow, Inc
   Jason Babson                            Jason Babson
26                                                                                  Trade debt                             $122,910.00                    $122,910.00
   2225 Lawson Lane                        PHONE: 603-998-4746
   Santa Clara, CA 95054-3311              EMAIL: Jason.Babson@servicenow.com




                                           Alert Logic Inc
   Alert Logic Inc
                                           Rhetta Bobo
   Rhetta Bobo
27                                         PHONE: 703-628-3077                      Trade debt                             $118,266.90                    $118,266.90
   1776 Yorktown St.
                                           FAX: 713.660.7988
   Houston, TX 77056
                                           EMAIL: rhetta.bobo@alertlogic.com




   Telia International Carrier (Int'l)
                                           Telia International Carrier (Int'l)
   Tony Avino
                                           Tony Avino
28 95 Cromwell Road London                                                          Trade debt                             $118,034.27                    $118,034.27
                                           PHONE: 703-628-3077
   London, SW74DC
                                           EMAIL: tony.avino@teliasonera.com
   United Kingdom




   Avant Communications Inc
                                           Avant Communications Inc
   Ron Hayman
                                           Ron Hayman
29 153 W Ohio Street                                                                Trade debt                             $113,015.19                    $113,015.19
                                           PHONE: 877-312-2826
   Suite 500
                                           EMAIL: rhayman@goavant.net
   Chicago, IL 60654




   LEL International, Inc.                 LEL International, Inc.
   Justin L. Engel                         Justin L. Engel
30 c/o Justin L. Engel, Bello Walsh LLP)   PHONE: 617-209-5194                   Pending litigation       CUD            Undetermined                    Undetermined
   125 Summer Street, Suite 1200           FAX: 617-247-4125
   Boston, MA 02110                        EMAIL: JEngel@bellowelsh.com




Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                           )
  In re:                                                   )   Chapter 11
                                                           )
  SINGLE HOP, LLC                                          )   Case No. 20-_______ (    )
                                                           )
                                                           )
                             Debtor.                       )
                                                           )


                              CORPORATE OWNERSHIP STATEMENT

              Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.


                          Debtor                               Direct owner(s)
                                                            Internap Corporation
                      SingleHop, LLC                  12120 Sunset Hills Road, Suite 330
                                                             Reston, VA 20190




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                                                                     MILBANK DRAFT 3/6/20
                                                                    Privileged and Confidential
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
 In re:                                                )   Chapter 11
                                                       )
 SINGLE HOP, LLC                                       )   Case No. 20-_______ (    )
                                                       )
                                                       )
                         Debtor.                       )
                                                       )


                             LIST OF EQUITY SECURITY HOLDERS

          Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.


  Name and Last Known Address or Place             Nature of Interest       Amount of Interest
          of Business of Holder                          Held                    Held

                Internap Corporation
          12120 Sunset Hills Road, Suite 330       Membership Interest             100%
                 Reston, VA 20190
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                                                              Pg 20 of 20
 Fill in this information to identify the case and this filing:


 Debtor Name SingleHop,   LLC
             __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________ District of New  York
                                                                            __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         ✔
             Chapter 11 or Chapter 9 Cases: &RQVROLGDWHGList of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form
              204)
               
         ✔
                                                        List of Equity Security Holders, Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     03/16/2020
        Executed on ______________                         8 /s/ Michael T. Sicoli
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Michael T. Sicoli
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President and CFO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
